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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            (WEST PALM BEACH DIVISION)
                                 www.flsb.uscourts.gov

 In re:                                                Case No. 16-12852-BKC-EPK
 MICHAEL WATTNER,
                                                       Chapter 7
       Debtor.
 _______________________________/

    TRUSTEE’S (I) OBJECTION TO DEBTOR’S SCHEDULED VALUATIONS AND
          CLAIMED EXEMPTIONS OF SCHEDULED PROPERTY; AND
            (II) MOTION FOR TURNOVER OF ESTATE PROPERTY

          NICOLE TESTA MEHDIPOUR, the Chapter 7 Trustee for the above-captioned estate (the

“Trustee”), by and through undersigned counsel, pursuant to 11 U.S.C. §§522, 541, and 542(a),

105(a), and Federal Rule of Bankruptcy Procedure 4003(b), files this Objection to Debtor’s

Scheduled Valuations and Claimed Exemptions of Scheduled Property, and Motion for Turnover

of Estate Property (the “Objection,” and the “Motion”), and in support thereof, states as follows:

                                     RELIEF REQUESTED

          1.    On February 29, 2016, the Debtor filed a voluntary petition for bankruptcy relief

under Chapter 7 of Title 11 of the United States Bankruptcy Code [ECF No. 1] (the “Petition

Date”).

          2.    On February 29, 2016, Nicole Testa Mehdipour was appointed as the Chapter 7

Trustee in the above-captioned case [ECF No. 2], becoming the permanent Trustee after the §341

Meeting was held and concluded on April 4, 2016 (the “§341 Meeting”).

          3.    The deadline for filing an objection to the Debtor’s claimed exemptions is currently

extended by Agreed Order to October 6, 2016 [ECF No. 47], and this Objection is timely filed.

          4.    The Debtor’s last amended Schedule C [ECF No. 17] lists personal property as

exempt, including, without limitation: a 2008 Ford F350 Super Duty Crew Cab XLT (the “Truck”);
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a 1994 Honda XR650LR (the “Bike”); and a Chase Business Checking ending-6618 (the

“Account”).

       5.      The Trustee objects to the Debtor’s scheduled valuation of the Truck to the extent

that a professional appraisal from Eric Rubin of Moecker Auctions, Inc., returned a value on or

around the Petition Date of $12,300.00, and further objects to the Debtor’s claimed exemptions in

the Truck to the extent of the amounts of any over- and/or non-exempt equity therein based on the

Petition Date value beyond the amounts of the Debtor’s allowed and available exemptions pursuant

to FLA. CONST. ART. X, §4(a)(2), FLA. STAT. ANN. §222.25(1) and/or FLA. STAT. ANN. §222.25(4),

when combined with the Debtor’s other allowed and available exemptions.

       6.      The Trustee objects to the Debtor’s scheduled valuation of the Bike to the extent

that a professional appraisal from Eric Rubin of Moecker Auctions, Inc., returned a value on or

around the Petition Date of $900.00, and further objects to the Debtor’s claimed exemptions in the

Bike to the extent of the amounts of any over- and/or non-exempt equity therein based on the

Petition Date value beyond the amounts of the Debtor’s allowed and available exemptions pursuant

to FLA. CONST. ART. X, §4(a)(2), FLA. STAT. ANN. §222.25(1) and/or FLA. STAT. ANN. §222.25(4),

when combined with the Debtor’s other allowed and available exemptions.

       7.      Further, the Trustee objects to the Debtor’s scheduled valuation of the Account to

the extent that the actual Petition Date account balance was $16.72, and further objects to the

Debtor’s claimed exemptions in the Account to the extent of the amounts of any over- and/or non-

exempt equity therein based on the Petition Date value beyond the amounts of the Debtor’s allowed

and available exemptions pursuant to FLA. CONST. ART. X, §4(a)(2) and/or FLA. STAT. ANN.

§222.25(4), when combined with the Debtor’s other allowed and available exemptions.

       8.      The Debtor also has an interest a Space Coast Credit Union Checking and Space




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Coast Credit Union Savings ending -9790 and -9700, respectively, which are not listed on

Amended Schedule A/B nor claimed as exempt on Schedule C (the “SC Accounts” and together

with the Truck, the Bike and the Account, the “Personal Property”).

       9.      The Personal Property and any over- or non-exempt equity therein based on the

Petition Date values, is property of the estate pursuant to 11 U.S.C. §541(a).

       10.     The Trustee submits that pursuant to 11 U.S.C. §542(a), when combined, the items

of Personal Property, are of significant value and benefit to this estate and its creditors, and

demands the immediate turnover of any over- and non-exempt equity in the Personal Property

based upon actual Petition Date values, or in the alternative, the immediate turnover of the Personal

Property.

                                 RESERVATION OF RIGHTS

       11.     The Trustee reserves the rights to further object or otherwise amend the instant

objections to the Debtor’s claimed exemptions and/or scheduled valuations, and/or to further

object or otherwise amend the Motion as more information may become available.

       WHEREFORE, Nicole Testa Mehdipour, the Chapter 7 Trustee, respectfully requests entry

of an Order: (i) sustaining the Objections; (ii) disallowing the Debtor’s scheduled valuations of the

Truck, the Bike and the Account, as set forth herein; (iii) sustaining the Objections to the Debtor’s

claimed exemptions to the extent of the over- and/or non-exempt equity in the Truck, the Bike and

the Account; (iv) granting the Motion; (v) ordering the Debtor to turn over any non-exempt and/or

over-exempt equity in the Personal Property based upon actual Petition Date valuations, or, in the

alternative, ordering immediate turnover of the Personal Property; and (vi) granting such other and

further relief as the Court deems just and proper.




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Respectfully submitted this 6th day of October, 2016.

                                     I HEREBY CERTIFY that I am admitted to the Bar of the United States
                                     District Court for the Southern District of Florida and I am in compliance
                                     with the additional qualifications to practice in this Court set forth in Local
                                     Rule 2090-1(A).
                                     LAW OFFICE OF NICOLE TESTA MEHDIPOUR, P.A.
                                     Counsel for Chapter 7 Trustee
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                                      /s/ Kimberly Salamone
                                          Nicole Testa Mehdipour
                                          Florida Bar No. 177271
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                                          Florida Bar No. 86560




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